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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS



ELLEN E. GARCIA,                                      )
                                                      )
                       Plaintiff,                     )
                                                      )
v.                                                    )       Case No. 17-CV-02728-JAR-GLR
                                                      )
JACK HENRY & ASSOCIATES, INC.,                        )
                                                      )
                       Defendant.                     )




                          JOINT STIPULATION FOR DISMISSAL
       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Ellen E. Garcia and

Defendant Jack Henry & Associates, Inc. stipulate to the dismissal of all claims in this action

with prejudice, with each of the parties to bear her or its own costs.


                                              Respectfully submitted,

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